CJA 20 APP OlN'l`MENT OF AND AUTI{OR|TY TO I’AY COURT A.PPOI'NTED COUNSEL

1.5‘11\@'.7'13?§1:/1)1\).¢0§`§618 ’ lNSSMRBRQ§§TQIDT DOCUm€m 36 Fl|€Ci OS/WMD<:HM&Q@B»LROT l l"aQ€||-) 55
TNW Crews, Michael

 

 

 

 

 

 

 

3a M AG. DKT‘/DF.F. NUMBER 4, Dls'r. m<'r./DEF. NuMBER s. APPEALS DKT./DEF. NUMBER h. OTHER DKT. NUMBER
1:05-010056-001
1 1.\' cAsF.fMATTER 0F icm ramey sr PAYMENT cATEGORY 9. TYPE PERSON REPRESENTED 10.1{{§P112Ersr131;ii'rA)T10N TYPP;
\e¢ l'|$ llf Dl'l.¥
U.S. v. Crews Felony Adult Defenda.ni Crlminal Case

 

ll. O`FFENSE(S) CH ARGEU (Cile U.Si Code, Til[e & Seetlnn) ll` more than one onense, lisl [up lo |'i'va} major offenses charged, according lo severity of offense

l) 18 922G. F -- UNLAWFUL TRANSPORT/POSSESS/RECEIVE FIREARMS THROUGH INTERSTATE COMME RCE

 

 

 

   

I?.. ATTORNEY'S NAI\'IE (Firat Nal‘ne, M.l., La.“ Name, lnr|uding an},l xuff:x) 11 COURT ORDER
AN'D MAILlNG ADDRESS 13 O Appointing Counsel l:l C Cu-Cn\lnsel
MOlTiS, JaCl( COllTl m F Subs ForFederalDefender m R Suhs ForRetained Anorney `-':~J
‘ \:l P Sub» For Pane| Anor'ney [] Y Stgndhy tjqu j-§
204 W Baltlmore _ l ‘ ,T`
jackson TN 3830} PrlorA\torneyaNama. ,.,.: -=
Appointmem D\\te: __ . __ ' _ q~r ~"-3"

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f' »`,
l:l Becauae Lhe above-named person represented has testified uidér€l:a“t:h §i'jhaa
otherwise satisfied this court that he or she (1] il financially unable'ti: `éin`pldy'tcl.lnsel`a_h`%g
T¢|ephum, Number: (I) dual not wish lo waive counsel, and because thai t.s olju§ii?e 's_"o`_re`r`¢uire,the `

14. NAI\'IE AND MAILI'NG ADDRESS OF LAW FIRM (only provide per insl't‘llciinns}

        
  

 

Signahlre of l'residing Judicial Of\'irer or By 0

 

m/') 9/700€ , r~ '-
name ofOrder N\lnr Pru '£n!fg Dat: _.;- '

Repayment or partial repayment ordered from the person represented for this s ervice at

time nfappo|.utmeut. |:l YES |:] NO

 

 

 

 

 

 

 

 

 

 

 

HOURS TOTAL MATH.'TECH MATHrrECH

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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15. u. Arraig:m\ent and/or Pieu

b. Bail and De¢entinn Hearings

c. Moiion Hearings ~
fl a. Trial , -
C e. Seniencing He:lrings
l': i`. Revocation Hearings
f g. Appeals Court

li. Other (Specify`on additional sheets]

(Rate per hour = S ) TOTALS:

16. 2, Interviews and Cunferenees
310 b. Obtaining and reviewing records
o c. Legal research and brief Writing
ii d. Travel time
\‘,’ e. lnvesijgative and Olher work {Specify on additional ahem)
ll (Ra|e per hour =3 ] TOTALS:

 

 

17. 'l`ravel Exp enses (lodging, parking` muals. mileage etc.)

 

 

 
 

 

    
 

 

 

 

 

 

 

 

 

Other Exp enses (olher than expert, transcripcs, etc.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

19. CEH'I`IF]CA'U ON OF ATTORNEY/PAYEE FUR THE PERIOD OF SERVICE 20. .»\I’P()INTMENT TER.M|NATION DATE 21. CASE DlSPOS]TlON
]F OTHER Th'.AN CASE COMFLEI`ION
FROM TO
22. C l.AlM S'l"ATUS Cl Final Payment l:l interim Paymenl Numher ____ l:i Supp|ementa| Pay'rnelll
Have you previously applied 10 il\e court I'\I‘ cnlnpermllion and!or remiml)uraemenl forthia caae'.’ ij YES m NO lf yes, Were you puid‘.’ m YES :l NO
O¥hzr than {rom we euur'l, have you, or toyour knowledge has anyone else, received payment (rompenaalion or anything or value] from any other source in connection with this
representation? m YES l:l NO If yes, give details on additional aheeta.

l swear orafl'lrm the truth or currecln ess ol'the above statements.

 

Signature o!' Artorne ‘ Date:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

IJ. [N COURT COMP‘ 24. OUT OF COUR'I` COMP. 25. TRAVEL EXPENSES 26. OTHER EXPENSES 27. TOTAL AMT.APPRI CERT
13a SIGNATU`RE OF THE PRESIDING JUDICIA.L OFFICER DATE ZBa. JUDGF. f MAG. .l'LlD(;E CDDE
19. IN COURT COMP. 3(]. OU'I` OF COURT COMP. 31. TRAVEL EXPENSES ]2. OTHER EXPENSES 33. 'I`OTAL AMT, AP]’ROVED
a
}4. SIGN ATU'RE OF CHIEF JUDGE, COURT OF APP EALS [OR DELEGATE} Paymenl DATE 34&. JU[]GE CODE
approved in excess of the statutory threshold amount.

 

 

 

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
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Honorablc J ames Todd
US DISTRICT COURT

